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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTER DIVISION

WILLIAM PERRIN,                  )
                                 )      Case No. 4:15-cv-00850 (HEA)
             Plaintiff,          )
                                 )      JURY TRIAL DEMANDED
   v.                            )
                                 )
RUBINBROWN LLP and               )
JOHN F. HERBER, JR.,             )
                                 )
             Defendants.         )

                           FIRST AMENDED COMPLAINT

   Comes now Plaintiff William Perrin, by and through his attorneys, and for his First

Amended Complaint states:

                                Preliminary Statement

   1. Defendant RubinBrown LLC (“RubinBrown”) violated the Fair Credit Reporting

Act (“FCRA”), 15 U.S.C. § 1681 et seq., by taking adverse employment action against

Plaintiff based on his consumer report without providing him a copy of that consumer

report and without proving him a written description of the rights of consumers under

the FCRA. 15 U.S.C. § 1681b(b)(3)(A).

   2. Pursuant to its own written policies, documents, and admissions in this

litigation, RubinBrown routinely obtains consumer reports and uses information from

those reports to conduct background checks on its applicants and employees.




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   3. While the use of consumer reports for employment purposes is not per se

unlawful, it is subject to mandatory disclosure and authorization requirements under

the FCRA. 15 U.S.C. §§ 1681(b)(2)(A)(i) & (ii).

   4. RubinBrown has violated the rights of Plaintiff and all other similarly situated

applicants and employees by obtaining their consumer reports without proper

authorization because RubinBrown’s standard authorization forms fail to comply with

the FCRA’s strict requirement that a disclosure and authorization be contained in a

separate “stand alone” document. Id.

   5. In Count I, Plaintiff asserts an FCRA claim under 15 U.S.C. § 1681(b)(3)(A)

alleging that RubinBrown took adverse employment action against him based, in whole

or in part, on information contained in his consumer report and RubinBrown failed to

provide him a copy of that consumer report and a written description of the rights of a

consumer under the FCRA.

   6. In Count II, Plaintiff asserts a class action claim under 15 U.S.C.

§§1681b(b)(2)(A)(i) & (ii) and Fed. R. Civ. P. 23 on behalf of himself and all other

applicants and employees of RubinBrown who executed RubinBrown’s standard

authorization forms and were the subject of a consumer report obtained by

RubinBrown on or after the date two years proceeding filing this claim.




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                                        The Parties

    7. Plaintiff is an adult citizen of the City of St. Louis, Missouri who at relevant times

was employed by RubinBrown as a Help Desk Technology Support Specialist.

    8. Defendant RubinBrown is a Missouri limited liability partnership that, during

times relevant, operated a public accounting and financial services business

headquartered at One North Brentwood, Clayton, Missouri 63105 in St. Louis County,

Missouri.

    9. Defendant John F. Herber, Jr. is a sui juris individual residing in St. Louis County,

Missouri who serves as the general partner of RubinBrown, and therefore Mr. Herber is

liable for the debts and obligations of RubinBrown pursuant to R.S. Mo. 359.251.2.

                                   Jurisdiction & Venue

    10. The FCRA authorizes court actions by private parties to recover damages for

violation of the FCRA’s requirements. 15 U.S.C. §§ 1681n & 1681p. Jurisdiction is also

based on 28 U.S.C. § 1331.

    11. Venue in this district is proper under 28 U.S.C. § 1391(b) and (c) because Plaintiff

resides in this district, RubinBrown maintains its principal place of business in this

district, and a substantial part of the events giving rise to the claims occurred in this

district.




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          Facts Relevant to Claim for Unlawful Adverse Employment Action

   12. On or about November 5, 2013, Plaintiff applied for employment with

RubinBrown.

   13. Around that time, RubinBrown informed Plaintiff that he was hired but he

would have six months to sufficiently improve his credit score.

   14. RubinBrown did not at any time present Plaintiff with any copy of his consumer

report.

   15. RubinBrown did not at any time present Plaintiff with any description in writing

of the rights of a consumer under the FCRA.

   16. Plaintiff was employed by RubinBrown at its Clayton, Missouri headquarters

from on or about December 2, 2013 to on or about May 2, 2014 as a Help Desk

Technology Support Specialist.

   17. On or about May 2, 2014, RubinBrown terminated Plaintiff’s employment,

informing him that the reason for his termination was his failure to sufficiently improve

his credit score.

  Facts Relevant to Claim for Unlawful Procurement and Use of Consumer Reports

   18. 15 U.S.C. § 1681b(b)(2)(A)(i)-(ii) requires a stand-alone disclosure; the only

extraneous information permitted within the same document is an authorization by the

consumer to the employer to obtain a consumer report.




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   19. As the Federal Trade Commission (“FTC”) explained in an opinion letter,

Congress specified a “standalone disclosure [ ] so that consumers will not be distracted

by additional information at the time the disclosure is given.” FTC Division of Credit

Practices FCRA Staff Opinion Letter from Cynthia S. Lamb, Investigator, to Richard L.

Steer, Hirsch Connors & Bull, P.C. (Oct. 21, 1997), 1997 WL 33791227 (F.T.C.).

   20. In connection with his employment application, on or about November 5, 2013,

Plaintiff completed RubinBrown’s standard application forms, including among other

things, a RubinBrown’s standard form entitled “Application Signature Page.”

   21. RubinBrown’s standard “Application Signature Page” contains a disclosure that

“I agree to have references and credit investigations with the knowledge that this is to

become part of my employee record” and “I understand that I may have additional

background or credit investigations run during my employment with RubinBrown”,

along with various other extraneous notices, acknowledgements and explanations

including, but not limited to, an explanation for the reasons for completing the

employment application, a statement of non-discrimination on the basis of unlawful

employment criteria, a request to disclose need for disability accommodation,

verification of the truth of the application responses, a waiver of liability based on

references by former employers, agreement to disclose “secondary employment,” a

release of educational transcripts, and an acknowledgement and explanation of “at

will” employment.



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   22. At the same time, and in connection with his employment application, Plaintiff

completed RubinBrown’s standard application form entitled “Pre-Employment

Investigation Disclosures and Authorization.”

   23. RubinBrown’s     standard “Pre-Employment Investigation              Disclosures and

Authorization” form contains a disclosure that consumer reports may be obtained and

an authorization to obtain consumer reports, along with various other extraneous

notices, acknowledgements and explanations including an expression of RubinBrown’s

appreciation for the applicant’s interest in employment, an explanation that

RubinBrown’s     “normal    procedure    for       processing   applications”   includes    “an

investigation into [the applicant’s] background,” a notice that “[s]hould an investigative

consumer report be requested, [the applicant] will have the right to demand a complete

and accurate disclosure of the nature and scope of the investigation requested and a

written summary of [the applicant’s] rights under the Fair Credit Reporting Act,”

authorization for “RubinBrown LLP, its partners, personnel, and/or agents to conduct

and interpret interview procedures they believe necessary,” a notice that “[i]f hired, this

authorization shall remain on file and shall serve as an ongoing authorization for

RubinBrown LLP to procure consumer reports or investigative consumer reports at any

time   during    [the   applicant’s]   employment         period,”   and    a   “release”    of

“RubinBrownLLP, its partners, personnel and agents from any liability and




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responsibility, damages and claims of any kind whatsoever arising from this

investigation of my background and the interview procedures conducted.”

   24. RubinBrown’s sworn response to Plaintiff’s Interrogatory No. 11 verifies its

policy and practice to obtain consumer reports for all applicants provided an

employment offer:

       …as of the time of Plaintiff’s employment with RubinBrown, RubinBrown
       provided job applicants with written information pertaining to the
       background check conducted, and obtained their authorization prior to
       conduct a background check. The background check was only performed
       for job applicants to whom RubinBrown make the decision to offer
       employment, and only after the decision to offer employment was made.
       The background checks were performed by Research Associates, Inc., a
       consumer reporting agency.

   25. RubinBrown’s written policy entitled “Financial Integrity of Team Members”

provides “[i]f circumstances warrant, periodic credit checks on team members may be

run by Human Resources, Inc in confidence.”

   26. Pursuant to RubinBrown’s written policies, form documents and admissions,

during times relevant RubinBrown obtained the consumer reports of (a) Plaintiff and all

other persons to whom RubinBrown decided to offer employment and (b) at least some

of its employees including Plaintiff.

   27. RubinBrown’s conduct was willful considering (a) the language of the FCRA

itself, (b) court decisions interpreting the FCRA, (c) FTC interpretations of the FCRA, (d)

RubinBrown’s status as a sophisticated professional services firm with available access

to both inside and outside legal advice, and (e) RubinBrown’s own written policies and


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other documents which demonstrate its cognizance of the FCRA’s applicability. In

short, RubinBrown was aware of the FCRA, but failed to comply with its requirements.

                                 Class Action Allegations

   28. Plaintiff’s claim for unlawful procurement and use of consumer reports (Count

II) is brought as a class action under Fed. R. Civ. P. 23, on behalf of himself and as the

Class Representative of a Class defined as:

       All applicants and employees of RubinBrown who executed
       RubinBrown’s standard authorization forms and were the subject of a
       consumer report obtained by RubinBrown on or after the date two years
       proceeding filing this claim.

   29. Plaintiff’s claim asserted in Count II satisfies the numerosity, commonality,

typicality, adequacy, predominance and superiority requirements of Fed. R. Civ. P. 23.

   30. The Class satisfies the numerosity standard because it consists of at least 40

persons who are geographically dispersed and, therefore, joinder of all Class members

in a single action is impracticable.

   31. Questions of fact and law are common to the Class including, but not necessarily

limited to, the two critical issues in this claim: (1) whether RubinBrown used unlawful

authorization forms to obtain consumer reports and (2) whether such conduct was

willful.

   32. Plaintiff’s claims are typical of those of the Class in that:

       a. Plaintiff and the Class executed the same standard forms authorizing

           RubinBrown to obtain their consumer reports,


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       b. Using those same forms, RubinBrown obtained their consumer

          reports, and

       c. The same facts underlie the allegations of willfulness asserted on

          behalf of Plaintiff and the Class such as the language of the FCRA

          itself, court decisions interpreting the FCRA, FTC interpretations of the

          FCRA, RubinBrown’s status as a sophisticated professional services

          firm with available access to both inside and outside legal advice, and

          the fact that RubinBrown’s own written policies and other documents

          demonstrate its cognizance of the FCRA’s applicability.

   33. Plaintiff is an adequate representative of the Class because he is a member of the

Class and his interests do not conflict with the interests of the members of the Class he

seeks to represent. The interests of the members of the Class will be fairly and

adequately protected by Plaintiff and the undersigned counsel, who have extensive

experience prosecuting complex employment and class action litigation.

   34. The common questions of fact and law identified above predominate over any

questions affecting only individual persons as the two critical questions to all claims are

(1) whether RubinBrown used unlawful standard authorization forms to obtain

consumer reports and (2) whether such conduct was willful. The same evidence

underlies all Class members’ allegations of unlawful standard authorization forms and

the same evidence underlies all Class members’ allegations of willfulness.



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   35. A class action is superior with respect to considerations of consistency, economy,

efficiency, fairness, and equity to other available methods for the fair and efficient

adjudication of the state law claims. Moreover, maintenance of this action as a class

action is superior to other available methods for fairly and efficiently adjudicating the

controversy as members of the Class have little interest in individually controlling the

prosecution of separate class actions, no other litigation is pending over the same

controversy, it is desirable to concentrate the litigation in this Court due to the relatively

small recoveries per member of the Class, and there are no material difficulties

impairing the management of a class action. Further, it would be impracticable and

undesirable for each member of the Class who suffered harm to bring a separate action.

In addition, the maintenance of separate actions would place a substantial and

unnecessary burden on the courts and could result in inconsistent adjudications, while

a single class action can determine, with judicial economy, the rights of all Class

members.

               Count I: Adverse Employment Action in Violation of the FCRA

   36. Plaintiff reasserts and re-alleges the allegations set forth above.

   37. The FCRA requires that before taking an adverse action against an employee

based in whole or in part on a consumer report, an employer must provide the

employee a copy of that consumer report and a written description of the rights of a

consumer under the FCRA. See 15 U.S.C. § 1681b(b)(3)(A).



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   38. RubinBrown’s termination of Plaintiff’s employment constitutes an “adverse

action” under the FCRA. See 15 U.S.C. § 1681a(k)(1)(B)(ii).

   39. At Plaintiff’s termination meeting, RubinBrown informed Plaintiff that it was

terminating his employment based on information in his consumer report, and Rubin

Brown did not inform Plaintiff of any other reason for his termination.

   40. RubinBrown thereby used a “consumer report,” as defined by the FCRA, to take

adverse employment action against Plaintiff.

   41. RubinBrown failed to provide Plaintiff a copy of his consumer report or a written

description of the rights of a consumer under the FLSA either before, during or after

terminating his employment.

   42. RubinBrown violated the FCRA by terminating Plaintiff’s employment, in whole

or in part, based on his consumer report while failing to provide him with a copy of that

consumer report and failing to provide him with a written description of the rights of a

consumer under the FCRA. See 15 U.S.C. § 1681b(b)(3)(A).

   43. The foregoing violations were willful as RubinBrown acted in deliberate or

reckless disregard of its obligations and the rights of Plaintiff under 15 U.S.C. §

1681b(b)(3)(A).

   44. RubinBrown’s conduct was willful as reflected by the language of the FCRA

itself, court decisions interpreting the FCRA, FTC interpretations of the FCRA,

RubinBrown’s status as a sophisticated professional services firm with available access



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to both inside and outside legal advice, and RubinBrown’s own written policies and

other documents showing its cognizance of applicability of the FCRA.

   45. Plaintiff is entitled to actual damages sustained as a result of RubinBrown’s

FCRA violation, including lost compensation, lost benefits and emotional distress

damages, or statutory damages of not less than $100.00 and not more than $1,000.00 for

its violation. See 15 U.S.C. § 1681n(a)(1)(A).

   46. Plaintiff is entitled to punitive damages for these violations. See 15 U.S.C. §

1681n(a)(2).

   47. Plaintiff is entitled to recover his costs and attorneys’ fees. See 15 U.S.C. §

1681n(a)(3).

   WHEREFORE, Plaintiff prays this Court enter its order, judgment and decree:

       a) Declaring that RubinBrown committed violations of the FCRA;

       b) Declaring that RubinBrown acted willfully in deliberate or reckless disregard

          of Plaintiff’s rights and its obligations under the FCRA;

       c) Awarding appropriate equitable relief, including but not limited to an

          injunction forbidding RubinBrown from engaging in further unlawful

          conduct in violation of the FCRA;

       d) Awarding actual or statutory damages against Defendants as provided by the

          FCRA;

       e) Awarding punitive damages against Defendants as provided by the FCRA;



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      f) Awarding reasonable attorneys’ fees and costs against Defendants as

          provided by the FCRA; and

      g) Granting such other equitable and further relief as this Court deems just and

          proper.

               Count II: Unlawful Procurement and Use of Consumer Reports

   48. Plaintiff reasserts and re-alleges the allegations set forth above.

   49. The FCRA requires that disclosures of procurement of consumer reports for

employment purposes and authorizations to obtain such consumer reports be contained

in a separate “stand alone” document. See 15 U.S.C. §§ 1681b(b)(2)(A)(i) & (ii).

   50. RubinBrown obtained the consumer reports of Plaintiff and the Class based on

its standard “Application Signature Page” which contains various extraneous notices,

acknowledgements and explanations including, but not limited to, an explanation for

the reasons for completing the application, a statement of non-discrimination on the

basis of unlawful employment criteria, a request to disclose the need for disability

accommodation, verification of the truth of the application responses, a waiver of

liability based on references by former employers, agreement to disclose “secondary

employment,” a release of educational transcripts, and an acknowledgement and

explanation of “at will” employment.

   51. RubinBrown obtained the consumer reports of Plaintiff and the Class based on

its standard “Pre-Employment Investigation Disclosures and Authorization” form



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which contains various extraneous notices, acknowledgements and explanations

including an expression of RubinBrown’s appreciation of the applicant’s interest in

employment, an explanation that RubinBrown’s “normal procedure for processing

applications” includes “an investigation into [the applicant’s] background,” a notice

that “[s]hould an investigative consumer report be requested, [the applicant] will have

the right to demand a complete and accurate disclosure of the nature and scope of the

investigation requested and a written summary of [the applicant’s] rights under the Fair

Credit Reporting Act,” authorization for “RubinBrown LLP, its partners, personnel,

and/or agents to conduct and interpret interview procedures they believe necessary,” a

notice that “[i]f hired, this authorization shall remain on file and shall serve as an

ongoing authorization for RubinBrown LLP to procure consumer reports or

investigative consumer reports at any time during [the applicant’s] employment

period,” and a “release” of “RubinBrownLLP, its partners, personnel and agents from

any liability and responsibility, damages and claims of any kind whatsoever arising

from this investigation of my background and the interview procedures conducted.”

   52. RubinBrown violated the FCRA by obtaining consumer reports of Plaintiff and

the Class based on authorization forms which address several extraneous matters

beyond a mere disclosure that a consumer report may be obtained and an authorization

for the procurement of that consumer report. 15 U.S.C. §§ 1681b(b)(2)(A)(i) & (ii).




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   53. The foregoing violations were willful as RubinBrown knew that its authorization

forms should not include or address matters not strictly required by the FCRA and / or

that it was obtaining consumer reports based on authorizations addressing matters not

strictly required by the FCRA, as reflected by:

       a. The clear language of the FCRA itself,

       b. Court decisions interpreting the FCRA,

       c. FTC interpretations of the FCRA,

       d. RubinBrown’s status as a sophisticated professional services firm with

          available access to both inside and outside legal advice, and

       e. RubinBrown’s own written policies and other documents showing its

          cognizance of applicability of the FCRA.

   54. Because RubinBrown’s conduct was willful, Plaintiff and the Class are entitled to

statutory damages of not less than $100.00 and not more than $1,000.00 per each and

every violation. 15 U.S.C. § 1681n(a)(1)(A).

   55. Plaintiff and the Class are entitled to recover their costs of this action together

with reasonable attorney’s fees. 15 U.S.C. § 1681n(a)(3).

   WHEREFORE, Plaintiff prays this Court enter its order, judgment and decree:

       a) Awarding appropriate equitable relief, including but not limited to an

          injunction forbidding RubinBrown from using its unlawful standard form

          authorization documents to obtain consumer reports;



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      b) Awarding statutory damages against Defendants as provided by the FCRA;

      c) Awarding reasonable attorneys’ fees and costs as provided by the FCRA; and

      d) Granting other and further relief, in law or equity, as this Court may deem

          appropriate and just.

                                  Demand for Jury Trial

   Plaintiff hereby requests a trial by jury of all issues triable by jury.

                                  Respectfully submitted,

    /s Mark Potashnick
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                                   Attorneys for Plaintiff

                               CERTIFICATE OF SERVICE

    The foregoing was served on Defendant’s attorneys of record via the Court’s
electronic case filing system on the date reflected in the Court’s electronic case filing
records.

                                           /s Mark Potashnick




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